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                            UNITED STATES BANKRUPTCY COURT
                               MIDDLE DISTRICT OF FLORIDA
                                    ORLANDO DIVISION
In re:
MIRIAM RIVKIND                       )  CASE: 6:15-bk-01933-KSJ
________________Debtor______________ )
             MOTION FOR WITHDRAW AS COUNSEL FOR DEBTOR

          COMES NOW the attorney for the debtor, files this motion, and states:
          1.     Debtor retained the undersigned attorney for preparation and filing of a Chapter 7
Bankruptcy petition and schedules.
          2.     The undersigned attorney has performed the duties for which he was retained by
the Debtor.
          3.     A hearing on the Trustee’s Objection to Debtor’s Claim of Exemptions is set for
December 8, 2015.
          4.     The debtor has informed the undersigned attorney that she no longer wants the
attorney to represent her in this case.
          WHEREFORE the undersigned attorney requests to be removed as attorney of record for
debtor.
          I HEREBY CERTIFY that a true copy hereof has been furnished by U.S. mail to Miriam
C. Rivkind, 378 W Washington Avenue, Pierson, FL 32180 and by electronic transmission via
CM/ECF to Bradley M. Saxton, Attorney for Trustee Carla Musselman; Carla Musselman,
Trustee; and to the United States Trustee on October 14, 2015.


                                                              /s/ Stacy A. Eckert
                                                              ________________________
                                                              Stacy A. Eckert, Esquire
                                                              Florida Bar No.: 0988170
                                                              Stacy A. Eckert, P.A.
                                                              2445 S. Volusia Avenue, C-1
                                                              Orange City, FL 32763
                                                              (386) 775-8228
                                                              Attorney for Debtor
